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                                                                                      FILED

                    UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF GEORGIA                       2016 MAY 19 AH 11 '• 06
                                    BRUNSWICK DIVISION
                                                                               u.$.n/.hK^Tc;c^;
                                                                                    MJSUSTA. C-,A
 In the matter of:                 )                    CHAPTER 7
 BROWN, DALE F and BROWN, LUCINDA, )                    CASE NO. 14-20588-JSD
                                                  )
                       Debtor(s),                 )


         COUNTER RESPONSE TO THE NUNC PRO TUNC APPLICATION OF
            JAY BLOCKSOM TO BE EMPLOYED AS A PROFESSIONAL
                  UNDER 11 U.S.C. §327(a) AND THE APPLICATION OF
                          JAY BLOCKSOM FOR COMPENSATION




 NOW COMES, Jay Blocksom, (hereinafter"Movant") Asset Recovery Specialist in the above-
 referenced captioned case (hereinafter "Trustee"), and counter responds to Trustee's Response to
 theNunc Pro Tunc Application of Jay Blocksom to be Employed as a Professional Under 11
 U.S.C. §327(a) [Docket No. 107] and the Application of Jay Blocksom for Compensation
 [Docket No. 108] as follows:

                                        BACKGROUND



    1.      Debtors filed a petition for relief under Chapter 7 of Title 11 of the U.S. Code on June
 30,2014, and R. Michael Souther was appointed as the Trustee.


    2.     Debtors' Schedules indicated they had an interest in certain real property known as 68
 Governors Road, Hilton Head, Beaufort Co., South Carolina, with a value of $445,000.00, and
 encumbered by two (2) mortgages in excess of $900,000.00.


    3.     Trustee filed a Report of No Distribution on April 16, 2015 [Docket No. 40], and this
 case was closed on April 17,2015 [Docket No. 41].


    4. In mid-July 2015, Movant contacted Trustee regarding a possible asset of the bankruptcy

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 Estate in the nature of excess funds in the amount of $342,589.65, being held by the Treasurer of
 Beaufort County, SC, and generated by a tax sale of the Hilton Head property.


     5.      As a result of the information provided by Movant, and additional independent
 inquiry by the Trustee, Trustee filed a motionto reopenthis bankruptcy case on July 22,
 2015 [Docket No. 42], and the case was reopened by Order of the Court dated July 27, 2015
 [Docket No. 45], and Trustee was reappointed on July 28, 2015 [Docket No. 46].


     6.      Thereafter, Trustee made a written demand upon the Treasurer for BeaufortCounty
 for the aforestated excess funds. On July 29,2015, Trustee received an email from an Assistant
 Attorney for Beaufort County stating that the subject funds had a hold placedupon them due to
 a Quiet Title Action pending in Beaufort County, SC,regarding the subject property and the tax
 sale.



     7.      At that point, the Trustee employed specialcounsel to intervene in said Quiet Title
 Action. After considerable posturing, the Trustee was allowed to intervene, and eventually the
 litigation was settled with the bankruptcy estate receiving $65,000.00 of the excess funds from
 the tax sale. (See Trustee's Motion to Approve Compromise and Settlement [Docket No. 85]
 and Order Granting Motion to Approve [Docket No. 91]).


                        NUNC PRO TUNC APPLICATION TO EMPLOY



 Section327(a) of the BankruptcyCode establishes that "the trustee, with the Court's approval,
 may employ one or more ... professionalpersons, that do not hold or represent an interest adverse
 to the estate, and that are disinterested persons, to represent or assist the trustee in carryingout the
 trustee's duties under this title," 11 U.S.C. §327(a). And, Rule 2014 of the Federal Rules of
 Bankruptcy Procedure provides that an order approving the employment of professional pursuant


 to §327(a) of the Code shall be made only on the application of the trustee (emphasis added).



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    Trustee argues that the Court is not authorized under Rule 2014 of the Federal Rules of
 Bankruptcy to approve Movant's Application for Employment. Movant, being unfamiliar
 with Federal Bankruptcy Procedure respectfully counter submits his belief thatwhilethe Court
 may ormay not be authorized to make such an approval, the Court does havethe authority to
 either order Trustee to fulfill his agreement with Movant and submit an application for
 employmentto the Court as the result of professional service rendered to the Estate or; (2) in
 light ofTrustee having no reasonable excuse for never filing an application for said
 employment, award the compensation Movant seeks in his application for compensation.


    Trustee's responses offer nothing collectively, nor individually to suggest that the Court
 would not have, in all probability, approved a timely filed motion by him to employ Movant as
 he did so timely file to employ accountant and special counsel.


    Movant believes Trustee may have, in fact, committed a breach of his fiduciary duties as
 Trustee when he entered into an oral agreement with Movant for the purpose of garnering
 information about the excess funds, recovered those funds and began distribution ofthose
 funds and then arbitrarily decided not to honor the agreement he made with Movant by failing
 to submit an application to both employ and compensate Movant.


    Trustee has, until now, not offered a reasonable explanation to Movant, nor can it be found
 anywhere in his responses, the reason(s) for why he never submitted a motion to employ
 Movant in the overeightmonths since he had made the oral agreement to seek employment of
 Movant. Even after Trustee was in possession ofthe recovered funds for over several weeks,
 he never submitted an application to employ Movant, and neither he, nor any of his agents
 ever contact Movant regarding the same.


    The only conclusion Movant can arrive at isto believe that there was never any intention
 byTrustee from the outset to employ, let alone compensate him for any service he provided to
 the Estate. Since Trustee offers no answer to this looming question in any of his responses,
 the responses, in theirentirety, should therefore, be rejected.

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                             APPLICATION FOR COMPENSATION



     Giving Trustee benefit of the doubt, Movant is at a loss to understand why and when
 Trustee's posture has obviously changed about employing his professional service. The
 reason(s) he offers now in his responses were never voiced nor communicated to Movant in
 any way. Moreover, the responses he now offers for breaching his agreement with Movant is
 totally inconsistent with the reasons he expressed to Movant in a telephone call on Thursday,
 April 7 ,2016. The four reasons Trustee gave were: (1) The amount recovered was
 significantly less than expected - 65k and not 342k; (2) Beaufort County was displeased when
 he related how he had become aware of the excess proceeds on the sale of the tax foreclosed
 property emphasizing that he had not mentioned my name; (3) the estate had accumulated 15k
 in legal fees and; (4) the debtors would not be very pleased to learn that you are the one who
 caused this situation to come to light regarding the excess proceeds. When Movant
 respectfully declined the modified offer, Trustee became angry with Movant, told Movant
 "you'll have to file it (the application to employ) yourself and then abruptly ended the call by
 hanging up. Since Trustee neither disputes nor denies Movant's affirmations as facts, his
 responses should be rejected in their entirety.


    In a related and subsequent phone call Movant had with U.S. Assistant Trustee Matthew
 Mills discussing Trustee's possible breach, Mr. Mills never mentioned any of the reasons
 Trustee now offers in his responses as to why Movant should be neither employed nor
 compensated for the service he provided to the Estate. After saying that he had talked with
 Trustee about the matter, Mr. Mills would only reiterate that Trustee told him he was still
 willing to submit and support a motion to employ for 10%, but not for 25%. Mr. Mills went
 on to the tell Movant that he did not believe Movant could be retroactively employed so there
 was a risk Movant might end up not receiving any compensationshould he elect not to accept
 Trustee'offer of 10%.




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    It was upon hearing thisthatMovant decided that if he could lose either way with Trustee
 notbeing able to retroactively employ him for 10%, then there would be nothing forhim to
 lose in applying for the 25% as previously agreed.


    Trustee acknowledges that were it not for Movant he would not have had any knowledge of
 the overage funds as "no elsewas going to apprise him of the factthat the bankruptcy estate
 had a claimto the overfunds..." In so doing, Trustee agrees that Movant did indeed provide a
 benefit to the Estate through the professional service he gave to Trustee which is one of the
 nine prongs Movant meets for nunc pro tunc employment consideration - Inre Twinton
 Properties Partnership, 27 B.R. 817 (Bankr. M.D. Tenn. 1983). Movant proffers that he meets
 all of the 9 prongs of the Twinton standard which are:


       (1) that the debtor expressly contracted for the services rendered,
       (2) that the party for whom the work was performed approves the entry of the nuncpro
           tunc order,

       (3) that the applicant provided notice and the opportunity for the filing of objections,
       (4) that no creditor offered a reasonable objection,
       (5) that the professional satisfied all criteria for employment at or before the time services
           were commenced and remained qualified during the time services were provided,
       (6) that the work was performed properly, efficiently, and to a high standardof quality,
       (7) that no actual or potential prejudice will inure to the estate or other parties in interest,
       (8) that the applicant's failure to seek pre-employment approval is satisfactorily explained,
           and

       (9) that the applicant exhibits no pattern of inattention or negligence.


   Trustee suggeststhat while Movant should receive some reasonable compensationfor the
 service agreed and provided he just doesn't think it should, if any, be for the agreed amount.
 Trusteedoes not offer now, nor has he previously, offeredany case law, authority or reasonable
 rationale for how he arrives at the conclusion Movant should not receive the agreed to amount
 of 25% outside of the most credible response he gave in the telephone conversation that

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 Movant should get less because he [Trustee] got lessthan expected. Consequently, such an
 unfounded, unsupported and arbitrary position should warrant total rejection of the Trustee's
 responses to Movant's application for employment and compensation.


    Trustee's averment "that it is submitted that Mr. Blocksom provided no service to the Estate
 other than making a telephone call to the Trustee to the existence of aforesaid overage funds" is
 blatantly untrue and seeksto trivialize Movant's professional efforts and occupation. Movant, in
 fact, never divulged any details ofthe overage funds in his initial conversation with Trustee's
 representative, Ms. Sharon Minnick, to Trustee himself, nor anyone else in Trustee's office. It
 was only after Trustee orally agreed to a 25% contingency fee through Ms. Minnick thatMovant
 then forwarded a packetof information via a fax andemailto Trustee containing the results of
 his investigative research connecting the funds to the debtors and Trustee.


    Even if Trustee somehownow believes he has found a reason to deny support of
 employment and compensation to Movant, it is not the reason he gave Movant, Mr. Mills or
 the other attorneys who interceded on Movant's behalf. While these things collectively
 suggest failure by Trustee to act in good faith and a possible breach of his fiduciary duties,
 Movant seeks only compensation for his service to the Estate as relief.


    Summarily, Movant believes that exceptional circumstance surrounding the instant matter
 allows the Court to use its discretionto provide remedy by either (1) compelling Trustee to
 employ Movant, (should that become necessary for this professional to be compensated and
 who meets the nine prong burden required for nunc pro tunc consideration) to then grant
 Movant's application for compensation and be paid 25% of the gross amount recovered by
 Trustee for the Estate or; (2) for the Court to affect the same result with or without Trustee'
 support.



    In a flawed attempt to determine he believes to be reasonable compensation for a "finder's
 fee", Trustee makes a gross error when he makes analogy to the area of law covered in both
 Georgia and South Carolina's abandoned property lawsto help the Court consider what is

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 "reasonable" compensation for Movant's service. Trustee's argument for asking the Court not
 to grant Movant's application for compensation is completely misplaced for several reasons.


    Both the South Carolinaand Georgia statute refer to unclaimed properties that have been
 specifically deliveredto the either the Commissioner of, or the Unclaimed Property Division of
 these respective states. Movant was not aware of, at the time he made an oral agreement with
 Trustee for a contingency fee of 25%, nor is now aware of, any statutes made by either state'
 unclaimed property division in the respective states which bind entities within a sovereignty,
 particularly municipal and county levels to the same standards it sets for finders of unclaimed
 property being held at the state level.


    Moreover, the statute which TRUSTEE elected to reference was not presented to the Court
 in its full context. The excerpted citation applies only to any unclaimed property delivered to
 the Commissioner of Unclaimed Property for the Stateof Georgia:


       44-12-224. Agreement and fees for recovery or assistance in recovery of property
       reported and delivered to commissioner

       (a) All agreements to pay compensation to recover or assist in the recovery of property
       reported and delivered to the commissioner under this article shall be unenforceable for 24
       months after the date of payment or the *delivervof property to the commissioner.
       (^emphasis added)

       (b) The fees charged by any person, firm, or corporation to recover or assist in the
       recovery for and on behalf of a claimant of property reported and *delivered to the
       commissioner under this article shall not exceed 10 percent of the value of the property
       recovered. All funds or property located by a person to be compensated by the payment of
       such a fee shall be paid or delivered directly to the owner and may not be paid or delivered
       to the person to receive the fee whether pursuant to a duly executed power of attorney or
       otherwise." (*emphasis added)


 2010 Georgia Code - Title 44 - Property - Chapter 12- Rights InPersonalty - Article 5
 Disposition Of Unclaimed Property - § 44-12-224


 The state of South Carolina similarly addresses finder fee laws and reads as follows:


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       Title SECTION 27-18-360. Restrictions on agreements to recover orassist in recovery of
        reported property; penalties.


        All agreements to pay compensation to recover or assist in the recoveryof property reported
       under Section 27-18-180, made withintwenty-four months after the date payment or delivery is
       made under Section 27-18-200 are unenforceable. It is unlawful for any person to seek or receive
        from any person or contract with any person for any fee or compensation for locating or
        purporting to locate any property which he knows has been reported or paid or *delivered to the
       administrator pursuant to this chapter, in excess of fifteen percent of the value thereofreturned to
       the owner. Any person violating this section is guilty of a misdemeanor and, upon conviction,
       must be fined not less than the amount ofthe fee or charge he has soughtor received or
       contracted for, nor more than ten times the amount, or imprisoned for not more than thirty days,
       or both. (*emphasis added)


       HISTORY: 1988 Act No. 658, Part II, Section 34A.



   South Carolina Code ofLaws Unannotated- Title 27- Property and Conveyances-
 Chapter 18 - Uniform Unclaimed Property Act Since the overage funds recovered by Trustee for
 the Estate were never received by, nor ever in the possession of either state' unclaimed property
 divisions the finder fee statutes arenot applicable. Thus, Trustee' charges that Movant is in
 violation of the laws of these states are without merit and should be rejected.


   Movant is duly aware that contingency fees of any kind can indeed be modified by a court
 having jurisdiction in the matter. The standard for doing so however is if and when such fees
 are found to be unreasonable. Trustee offers no reason for the Court to disturb the amount

 agreed to between him and Movant other than the flawed application he makes to the
 Unclaimed Property Laws for the abandoned and unclaimed property division for the states of
 South Carolina and Georgia. It should be noted that the standard fee percentage for
 contingency agreements is from 30% to 40%. Movant's contingency is only 25% and less than
 the average. While such standard fees are generally found in personal injury and other tort

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 cases between attorneys and their clients, it is also generally accepted by other Courts to
 determine reasonable vs. unreasonable fees.



    Two of the Court's sisters lend further support in guiding Movant's counter responses that
 his 25% contingency fee is not unreasonable. In Bedrosian-Wheeler - caeb, bk no. 09-31872-
 c-7 (2014) Honorable Chief Judge Christopher M. Klein approved both the application
 employmentand compensation of Movant based on the contingency agreement he had with the
 trustee in that case for 25% of any gross amount the trustee recovered. (EXHIBIT 1A -
 attached) Similarly, in Franco andMelendez, caeb, 09-19960- (2014) Honorable Judge W.
 Richard Lee also approved the motions to employ and compensate Movant for the professional
 service he rendered to the trustee in that case finding his 25% contingency fee not to be
 unreasonable. (EXHIBIT 2A - attached) In both cases, there were no objections.


                                         CONCLUSION



 Summarily, because Trustee (1) has breached his agreement with Movant by not submitting an
 applicationto employ him; (2) did not include notificationto Movant regarding the proposed
 settlement nor its process as an interested person; (3) knowingly or unknowingly
 misrepresented interpretation of the Unclaimed Property statutes for both the State of Georgia
 and South Carolina in his responses and; (4) has thereby, presented Movant in the most
 unfavorable light as having violated the laws of two states, his responses should be rejected in
 their entirety and compensation provided to Movant via any remedy the Court deems proper.


 Dated this /flftjiay ofMay, 2016


                                                      fay olocksom
                                                      Asset Recovery Specialist
                                                      Blocksom & Blocksom LLC



 2927 Panhandle Circle
 Augusta, GA 30906
 (770)651-7973

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                 UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF GEORGIA
                                       BRUNSWICK DIVISION


   In the matter of:                                  )      CHAPTER 7
   BROWN, DALE F and                                  )       CASE NO. 14-20588-JSD
   BROWN, LUCINDA,                                    )
                  Debtor(s),                          )


                                      CERTIFICATE OF SERVICE




      This is to certify that I have this day served uponthe following a copy of the foregoing by placing
   the same in the United StatesMail with sufficient postage affixed thereto to assure delivery:

            Mr. Dale F. Brown                                     R. Michael Souther
            Mrs. Lucinda Brown                                    P.O. Box 978
            144 Harrison Pointe                                   Brunswick, GA 31521-0978
            St. Simons Island, GA 31522


            Matthew Mills, Esq.                                   Amanda Fordham Williams
            Assistant U. S. Trustee                               #5 St. Andrews Court
            Johnson Square Business Center                        Brunswick, GA 31520
            2 East Bryan Street, Suite 725
            Savannah, GA 31401




  Dated this /Midav ofMay, 2016

                                                                  W(^<r»l/
                                                          lay tfiocksom
                                                          Asset Recovery Specialist
                                                          Blocksom & Blocksom LLC



  2927 Panhandle Circle
  Augusta, GA 30906
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                                                                                       (£ IT'•£&>
                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF CALIFORNIA
                                    CIVIL MINUTE ORDER



Case Title:              Linda L. Bedrosian-Wheeler       Case No: 09-31872-C-7
                                                          Date:    3/18/14
                                                          Time:    09:30

Matter:                  [44] - Motion/Application for Compensation [JB-1] for Jay Blocksom, Other
                         Professional(s), Fee: $61726.67, Expenses: $0.00. Filed by Other Professional
                         Jay Blocksom (mgas)
Judge:                   Christopher M. Klein
Courtroom Deputy         Danielle Hendricks
Reporter:                Diamond Reporters
Department:              C

APPEARANCES for:
Movantfs):
(by phone)    Trustee's Attorney - Loris Bakken
         Trustee's specialist - Jay Blocksom
Respondent(s):
None




                                          CIVIL MINUTE ORDER


Findings of fact and conclusions of law having been stated orally on the record and good cause appearing.
IT IS ORDERED that the motion is granted.

    Dated; March 25, 2014




                                                  United Spates Bankruptcy Judge
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                            Case 09-31872   Filed 12/10/13   Doc 37




 1   THE SUNTAG LAW FIRM
     A Professional Corporation
 2   DANA A. SUNTAG (California State Bar No. 125127)
     LORIS L. BAKKEN (California State Bar No. 215033)
 3   The Kress Building
     20 North Sutter Street, Fourth Floor
 4   Stockton, California 95202
     Telephone: (209) 943-2004
 5   Facsimile: (209) 943-0905
 6   Attorneys for Chapter 7 Trustee
     GEOFFREY RICHARDS
 7

 8                          UNITED STATES BANKRUPTCY COURT

 9                           EASTERN DISTRICT OF CALIFORNIA

10
     IN RE:                                      )     NO: 09-31872-C-7
11
                                                       DC No.: SLF 2
12   LINDA L BEDROSIAN-WHEELER,
                                                 )    CHAPTER 7 TRUSTEE
13                                                    GEOFFREY RICHARDS' VERIFIED
                  Debtor.                             APPLICATION FOR ORDER
14                                               )    AUTHORIZING EMPLOYMENT OF
                                                 )    ASSET RECOVERY SPECIALIST
15                                               )    JAY BLOCKSOM OF BLOCKSOM &
                                                       BLOCKSOM, LLC
16
                                                       Date: January 7,2014
17                                                    Time: 9:30 a.m.
                                                      Place: Department C
18                                                    The Honorable Christopher M. Klein

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     APPLICATION FOR AUTHORIZATION
     TO EMPLOY ASSET RECOVERY SPECIALIST     1
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 1                 Chapter 7 Trustee Geoffrey Richards seeks authorization to employ asset
 2   recovery specialist Jay Blocksom, of Blocksom &Blocksom LLC, who is assisting the Trustee in
 3   locating and recovering undisclosed probate funds that are property of the estate.
 4                 Mr. Richards respectfully represents as follows:

 5                 1.     The Debtor filed this case on June 10,2009, and Geoffrey Richards was

 6
     appointed as the Trustee. On October 6,2009, this case was closed.

 7
                   2.     In late October 2013, Mr. Blocksom sent an email to Mr. Richards stating

 8
     that he had conducted an investigation that revealed an undisclosed governmental agency was

 9
     holding $246,906.69 of funds that he believed are property of the estate in this case.
     Mr. Blocksom's email stated that he would assist Mr. Richards in recovering the funds, and that
10
     under his standard agreement for these types of matters he receives 25 percent of the gross
11
     recovery. (Ex. A).
12
                   3.     In response, Mr. Richards telephoned Mr. Blocksom to make further inquiry
13
     aboutthe facts and the funds. He also inquired as to which agency was holding the funds and
14
     whythey were holding the funds. Mr. Blocksom was willing to provide this information based on
15
     a reasonable assurance that he would be compensated for the work he had done to discover
16
     the asset and report it to Mr. Richards.
17
                   4.     Mr. Blocksom then provided to Mr. Richards' counsel a page from the
18
     Placer County Treasurer - Tax Collector website, which confirms the County is holding
19
     $246,906.69 in unclaimed funds from the estate of Thelma Louise Bedrosian (the "Probate
20
     Funds"), and that Debtor Linda Bedrosian-Wheeler is the heir to the Probate Funds. (Ex. B).
21
                   5.     Mr. Richards asked Mr. Blocksom for additional information to confirm that
22
     the Linda Bedrosian-Wheeler identified on the Placer County Treasurer - Tax Collector website
23
     isthe same as person as the Debtor. Mr. Blocksom provided the information, which showed
24
     Debtor Linda Bedrosian-Wheeler is the beneficiary of the probate estate of Thelma Louise
25

26

     APPLICATION FOR AUTHORIZATION
     TO EMPLOY ASSET RECOVERY SPECIALIST
Case:14-20588-JSD Doc#:119 Filed:05/19/16 Entered:05/19/16 15:22:10                  Page:14 of 17
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 1   Bedrosian, who died on April 18,2009, before the Debtor filed this case. (Ex. C). The Debtor did
 2   not identify her interest in her mother's estate on her schedules.
 3                 6.     On November 14, 2013, the Court granted the U.S. Trustee's motion to
 4   reopen the case for the purpose of administering the Probate Funds. (Docket No. 27).
 5   Mr. Richards was reappointed trustee in the reopened case. (Docket No. 28).
 6                 7.     Mr. Richards is taking steps to recover the Probate funds from the Placer
 7   County Treasurer - Tax Collector.

 8                 8.     Mr. Richards wishes to employ Mr. Blocksom so that he may be
 9   compensated for his work in locating the Probate Funds and providing information to
10   Mr. Richards so that Mr. Richardscan attempt to recover the Probate Funds.
11                 9.     Mr. Blocksom's proposed fee is 25 percent of the gross recovery of the
12   Probate Funds, subject to approval by the Bankruptcy Court. Ifthere is no recovery,

13   Mr. Blocksom will not receive any fees. Mr. Blocksom will be responsible for all costs he incurs.
14   (Blocksom Decl., U2).

15                 10.    Mr. Blocksom formed Blocksom & Blocksom LLC in 2009 as an asset

16   recovery firm. Mr. Blocksom has substantial experience in auditing county, state, federal and

17   corporate entities to locate unclaimed assets and monies and recover them. Mr. Blocksom

18   reviews public records, court documents, deeds, wills, bankruptcy filings, obituaries, and

19   databases to locate unclaimed funds and potential claimants. (Blocksom Decl., H3, Ex. D).

20                 11.    If it were not for the work that Mr. Blocksom did in locating the Probate

21   Funds and advising Mr. Richards about them, the estate would not have known about the

22   Probate Funds and therefore would not be able to recover the Probate Funds.

23                 12.    Mr. Richards believes that employing Mr. Blocksom is in the best interest of

24   the estate and that the Court should approve it.

25                 13.    Bankruptcy Code Section 327(a) authorizes the Trustee, with Court

26   approval, to employ a professional to assist the trustee in carrying out his duties if such

     APPLICATION FOR AUTHORIZATION
     TO EMPLOY ASSET RECOVERY SPECIALIST          3
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 1   professional does not represent or hold any interest adverse to the debtor or to the estate with
 2   respect to the matter on which such professional is to be employed.
 3                  14.    Mr. Blocksom has not been retained for any prepetition services on behalf
 4   ofthe Debtor or the Trustee, and he has not received retainers or advanced fees. (Blocksom
 5   Decl., H4).

 6                  15.    Mr. Blocksom does not hold any interest adverse to the Debtor or to the
 7   estate and:

 8                         (i)    is not a creditor, an equity security holder, or an insider of the Debtor;

 9                         (ii)   is not and was not, within two years before the date of the filing of the

10
     petition, a director, officer, or employee of the Debtor;

11
                           (Hi)   does not have an interest materially adverse to the interest of
     Trustee, the estate, or any class of creditors or equity security holders, by reason of any direct or
12
     indirect relationship to, connection with, or interest in, the Debtor or Trustee; and
13
                           (iv)   does not haveany connection with the Debtor, Trustee, the United
14
     States Trustee, or any person employed in the Office ofthe United States Trustee. (Blocksom
15
     Decl., 115).
16
                    WHEREFORE, Mr. Richards respectfully requeststhat the Court authorize him to
17
     employ Mr. Blocksom according to the terms in this application and that it grant such other and
18
     further relief as is appropriate.
19
     Dated: December 9, 2013                           THE SUNTAG LAW FIRM
20                                                     A Professional Corporation

21

22                                                      RY:      /<*/ Loris L Bakken
                                                              LORIS L. BAKKEN
23
                                                              Attorneys for Chapter 7 Trustee
24                                                            GEOFFREY RICHARDS

25

26

     APPLICATION FOR AUTHORIZATION
     TO EMPLOY ASSET RECOVERY SPECIALIST           4
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 1                                             VERIFICATION

 2                 I, GEOFFREY RICHARDS, am the Trustee in this case. I have read the above

 3   application and verified its accuracy and I approve it.

 4                 I declare under penalty of perjury of the laws of the United States that the

 5
     foregoing is true and correct.

 6
                   Executed on December _£., 2013, at Orinda, California.
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     APPLICATION FOR AUTHORIZATION
     TO EMPLOY ASSET RECOVERY SPECIALIST          5
       Case:14-20588-JSD Doc#:119 Filed:05/19/16 Entered:05/19/16 15:22:10                             Page:17 of 17
                                          Case 09-19960       Filed 03/18/14   Doc 58

                I
                                                                                                  QcrtisirlMi
                      SHERYL A. STRAIN
               2      CHAPTER 7 TRUSTEE
                      575 E. ALLUVIAL #101
               3      FRESNO, CA 93720
                      PHONE (559) 435-2100
               4      FAX (559) 435-5656
               5

               6                               UNITED STATES BANKRUPTCY COURT
                                                EASTERN DISTRICT OF CALIFORNIA
               7
                                                        FRESNO DIVISION
               8


               9
                       In the Matter of                                  CaseNo.:09-19960-B-7

              10      VICTOR MANUEL FRANCO and                           DC NO. SAS-1

              11
                       MARIA ALBISELA MELENDEZ

              12                                                         Date: March 12,2014
                                                                         Time: 10:00 a.m.
              13
                                          Debtors.                       Dept. B,    Courtroom 12, Fresno
                                                                         Honorable W. Richard Lee
              14


              IS


              16       ORDER AUTHORIZING EMPLOYMENT OF ASSET RECOVERY SPECIALIST
                       AND AUTHORIZING PAYMENT OF FEES
              17
                                      The motion of Sheryl A. Strain, the Chapter 7 Trustee, for an Order Authorizing
              18
                       Trustee to employ and compensate an Asset Recovery Specialist (Blocksom and Blocksom
              19
                       LLC) came on regular hearing on March 12, 2014 at 10:00 a.m., before the Honorable W.
              20
                       Richard Lee.
              21
                       After reviewing the Motion, evidence presented and with no opposition,
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                             IT IS HEREBY ORDERED, ADJUDGED AND DECREED as follows:
              23
                              1. Trustee's Motion for Order Authorizing Employment of Asset Recovery Specialist
              24
                      is granted.
              25
                             2. Trustee is authorized to pay Asset Recovery Specialist a fee in the amount of 25% of
              26
                      the gross amount recovered.
              27
                                                                                                   not applicable.
                             3. The provisions of Federal Rule of Bankruptcy Procedure 6004 (h) are
              28      DADated: Mar 18,2014


         RECEIVED
     March 17,      2014                                                   W. Richard Lee
CtMK, U.S. BANKRUPTCY I
ZASTUH DISTRICT Of CMbZI                                                   United States Bankruptcy Judge
         0009143451
